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                 4                                   UNITED STATES DISTRICT COURT
                 5                                           DISTRICT OF NEVADA
                 6                                                       ***
                 7       UNITED STATES OF AMERICA,                               Case No. 2:11-CR-327 JCM (CWH)
                 8                                               Plaintiff(s),                      ORDER
                 9              v.
               10        MICHAEL PAUL MATULICH,
               11                                             Defendant(s).
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               13              Presently before the court is the matter of United States of America v. Michael Paul
               14       Matulich, case number 2:11-cr-00327-JCM-CWH.
               15              Petitioner Matulich has filed a motion for sentence reduction under Amendment 782 of 18
               16       U.S.C. § 3582(c). (ECF No. 166).
               17              Briefing will proceed as follows: the government shall file a response within twenty-one
               18       (21) days of the entry of this order, and petitioner shall file a reply fourteen (14) days thereafter.
               19                    Accordingly,
               20                    IT IS SO ORDERED.
               21                    DATED July 3, 2017.
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               23                                                       UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
